      6:18-cv-00302-RAW Document 685 Filed in ED/OK on 10/30/19 Page 1 of 3



                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF OKLAHOMA

MIDSHIP PIPELINE COMPANY, LLC,                    )
           Plaintiff,                             )
                                                  )
vs.                                               )      Case No. 6:18-CV-302-RAW
                                                  )      The Honorable Ronald A. White
TRACT NO. BR-0860.000, 2.331                      )
ACRES OF LAND, MORE OR LESS,                      )
PERMANENT EASEMENT (PIPELINE )                    )
RIGHT OF WAY) IN BRYAN COUNTY,                    )
OKLAHOMA, et al.,                                 )
          Defendants.                             )

                               MOTION TO WITHDRAW

       COME NOW Harlan Hentges of the firm of Hentges & Associates, PLLC

(“Hentges”) and James Randall Miller (“Miller”) and request this Court approve their

withdrawal as counsel for Central Land Consulting, LLC (“Central Land”) and the

individual land owners for whom Hentges and Miller, at Central Land’s request entered

their appearance (Central Landowners)(see Exhibit “1”) in the above-referenced matter

affiliated with Central (See docket entries 676 and 681).

       In support of this motion, counsel would show that Central Land hired Hentges to

serve as counsel in this matter for and on behalf of Central Land and the Central’s

Landowners. The withdrawal is in the best interest of the clients for the reasons that scope

of the representation and the amount of the resources required to pursue the matter has

exceed the limited the resources of individual practitioners, Hentges and Miller. The under-

signed counsel believe this lack of needed resources, including man-power, is an

unsurmountable disadvantage to the clients, and that it is in the best interest of the Central
     6:18-cv-00302-RAW Document 685 Filed in ED/OK on 10/30/19 Page 2 of 3



Land and Central Landowners to obtain counsel with the man power and other law firm

resources necessary to effectively manage and fully advance the interests of Central L and

the Central Landowner in this matter and corollary matter that may and have arisen. These

concerns have been discussed in detail and at length with Central Land and Central Land’s

Ohio counsel. Those discussion have not result in a resolution of the concerns expressed

by Hentges and Miller.

       On October 21, 2019, Hentges notified Central Land and the Central Landowners

that it was necessary, for the reasons stated above to terminate his relationship with Central

Land and the Central Land Defendants and advised them to seek separate counsel. Central

Land through its Ohio counsel has advised it is seeking replacement counsel to serve on its

behalf and on behalf of the Central Landowners. Movants have not yet been advised

whether Central Land or the Central Landowners will oppose the Motion to Withdraw.

       Movants certify that this Motion to Withdraw will be served via U.S Mail on

Central Land and the Central Landowners.

       WHEREFORE, movants pray this Court approve the withdrawal of Harlan Hentges

of Harlan Hentges, PLLC, and James Randall Miller as counsel for Central Land

Consulting, LLC and the Central Land Defendants and these proceedings be stayed for a

period of thirty (30) days to permit replacement counsel to enter an appearance in this

matter.

                                                          s/ Harlan Hentges
                                                         Harlan Hentges, OBA #17911
                                                         Hentges & Associates, PLLC
                                                         102 East Thatcher Street
                                                         Edmond, OK 73034
     6:18-cv-00302-RAW Document 685 Filed in ED/OK on 10/30/19 Page 3 of 3



                                                      (405) 340-6554
                                                      (405) 340-6462
                                                      harlan@organiclawyers.com

                                                      -and-

                                                      James Randall Miller,
                                                      OBA#6214
                                                      601 S. Boulder Ste 800
                                                      Tulsa, OK 74119
                                                      (918) 740-9922
                                                      jrandymill@gmail.com


                           CERTIFICATE OF SERVICE

       I hereby certify that on October 30, 2019, the foregoing Motion to Withdraw has
been filed and electronically served upon all counsel of record.


                                                    s/Harlan Hentges
                                                    Harlan Hentges
